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                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


TYLER ROBERT, Individually and on                           CIVIL ACTION NO. 2:21-cv-01967
Behalf of All Others Similarly Situated


vs.                                                          JUDGE: IVAN L.R. LEMEKKE


AHA HUTS, LLC                                                MAGISTRATE JUDGE: JANIS
                                                             VAN MEERVELD


      FIRST AMENDED AND SUBSTITUTED COMPLAINT—COLLECTIVE ACTION


        Plaintiff Tyler Robert (“Plaintiff”), individually and on behalf of all others similarly

situated, by and through his attorneys Steven DeBosier of Dudley DeBosier Injury Lawyers and

Lydia Hamlet and Josh Sanford of Sanford Law Firm, PLLC, and for his First Amended and

Substituted Complaint—Collective Action against Aha Huts, LLC (“Defendant”), he does

hereby state and allege as follows:

                           I.         PRELIMINARY STATEMENTS

        1.     This is a collective action brought by Plaintiff, individually and on behalf of all

others similarly situated, against Defendant for violations of the Fair Labor Standards Act, 29

U.S.C. § 201, et seq. (the “FLSA”).

        2.     The purpose of this First Amended and Substituted Complaint—Collective Action

is to remove Defendant Pizza Huts of America, LLC, and replace it with Defendant Aha Huts,

LLC.

        3.     Plaintiff seeks declaratory judgment, monetary damages, liquidated damages,

costs, and a reasonable attorneys’ fee, as a result of Defendant’s policy and practice of failing to

pay Plaintiff sufficient wages under the FLSA within the applicable statutory limitations period.
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       4.      Upon information and belief, within the three years prior to the filing of the

Original Complaint—Collective Action, Defendant has willfully and intentionally committed

violations of the FLSA as described, infra.

                             II.      JURISDICTION AND VENUE

       5.      The United States District Court for the Eastern District of Louisiana has subject

matter jurisdiction over this suit under the provisions of 28 U.S.C. § 1331 because this suit raises

federal questions under the FLSA.

       6.      Defendant conducts business within the State of Louisiana.

       7.      Venue lies properly within this Court under 28 U.S.C. § 1391(b)(1) and (c)(2),

because the State of Louisiana has personal jurisdiction over Defendant, and Defendant therefore

“resides” in Louisiana.

       8.      A substantial part of the acts complained of herein were committed in and had

their principal effect against Plaintiff within the Eastern District of Louisiana. Therefore, venue

is proper pursuant to 28 U.S.C. § 1391.

                                      III.    THE PARTIES

       9.      Plaintiff is an individual and resident of Lafourche Parish.

       10.     Defendant is a foreign limited liability company.

       11.     Defendant’s registered agent for service of process is CT Corporation System at

3867 Plaza Tower Drive, Baton Rouge, Louisiana 70816.

                               IV.    FACTUAL ALLEGATIONS

       12.     Plaintiff repeats and realleges all previous paragraphs of this Complaint as though

fully incorporated in this section.

       13.     Defendant owns and operates a Pizza Hut franchise in Louisiana.
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        14.      Defendant’s annual gross volume of sales made or business done was not less

than $500,000.00 (exclusive of excise taxes at the retail level that are separately stated) during

each of the three calendar years preceding the filing of this Complaint.

        15.      During each of the three years preceding the filing of the Original Complaint—

Collective Action, Defendant employed at least two individuals who were engaged in interstate

commerce or in the production of goods for interstate commerce, or had employees handling,

selling, or otherwise working on goods or materials that had been moved in or produced for

commerce by any person, such as vehicles, fuel and goods or materials typically used in the fast-

food industry.

        16.      Defendant employed Plaintiff within the three years preceding the filing of this

lawsuit.

        17.      Specifically, Defendant employed Plaintiff as an hourly-paid Delivery Driver

from approximately August of 2019 until January of 2020.

        18.      Defendant also employed other hourly-paid Delivery Drivers within the three

years preceding the filing of this lawsuit.

        19.      At all relevant times herein, Defendant directly hired Plaintiff and other Delivery

Drivers to work on its behalf, paid them wages and benefits, controlled their work schedules,

duties, protocols, applications, assignments and employment conditions, and kept at least some

records regarding their employment.

        20.      At all times material herein, Plaintiff has been entitled to the rights, protections

and benefits provided under the FLSA.

        21.      Defendant classified Plaintiff as nonexempt from the overtime provisions of the

FLSA.
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       22.     Defendant also classified other Delivery Drivers as nonexempt from the overtime

provisions of the FLSA.

       23.     Upon information and belief, Defendant applies or causes to be applied

substantially the same employment policies, practices, and procedures to all Delivery Drivers at

all of their locations, including policies, practices, and procedures relating to payment of

minimum wages and reimbursement of automobile expenses.

       24.     Defendant is an “employer” within the meaning set forth in the FLSA, and was, at

all times relevant to the allegations in this Complaint, Plaintiff’s employer, as well as the

employer of the members of the proposed collective.

       25.     Plaintiff and the other Delivery Drivers at Defendant’s restaurants work “dual

jobs.” Specifically, they deliver food to Defendant’s customers and receive tips, and they also

work inside the store completing nontipped duties.

       26.     Defendant paid Plaintiff and other Delivery Drivers a rate at or close to minimum

wage per hour for work performed while in the store.

       27.     Defendant paid Plaintiff and other Delivery Drivers less than minimum wage per

hour for all hours worked outside of the restaurant making deliveries. In other words, Defendant

takes advantage of the “tip credit” provision of the FLSA pursuant to 29 U.S.C. § 203(m) while

Plaintiff and other Delivery Drivers are out making deliveries.

       28.     Plaintiff and other Delivery Drivers would “clock out” from working inside the

store and “clock in” as making deliveries when leaving the restaurant to make deliveries, thereby

changing their hourly pay rate.

       29.     Defendant requires Delivery Drivers to maintain and pay for operable, safe, and

legally compliant automobiles to use in delivering Defendant’s pizza and other food items.
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       30.     Defendant requires Delivery Drivers to incur and/or pay job-related expenses,

including but not limited to automobile costs and depreciation, gasoline expenses, automobile

maintenance and parts, insurance, financing, cell phone costs, and other equipment necessary for

delivery drivers to complete their job duties.

       31.     Pursuant to such requirements, Plaintiff and other Delivery Drivers purchased

gasoline, vehicle parts and fluids, automobile repair and maintenance services, automobile

insurance, suffered automobile depreciation, paid for automobile financing, and incurred cell

phone and data charges all for the primary benefit of Defendant.

       32.     Defendant does not track Plaintiff’s or other Delivery Drivers’ actual expenses

nor does Defendant keep records of all of those expenses.

       33.     Defendant does not reimburse Plaintiff and other Delivery Drivers for their actual

expenses.

       34.     Defendant does not reimburse Plaintiff and other Delivery Drivers at the IRS

standard business mileage rate.

       35.     Defendant does not reimburse Plaintiff and other Delivery Drivers at a reasonable

approximation of Delivery Drivers’ expenses.

       36.     Defendant reimburses Plaintiff and other Delivery Drivers at or around thirty-

three cents per mile.

       37.     According to the Internal Revenue Service, the standard mileage rate for the use

of a car during the relevant time periods has been as follows:

                               2018:   54.5 cents/mile
                               2019:   58 cents/mile
                               2020:   57.5 cents/mile
                               2021:   56 cents/mile
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       38.     As a result of the automobile and other job-related expenses incurred by Plaintiff

and other similarly situated Delivery Drivers, they were deprived of minimum wages guaranteed

to them by the FLSA.

       39.     At all relevant times, Defendant has applied the same pay policies, practices, and

procedures to all Delivery Drivers at their stores.

       40.     All of Defendant’s Delivery Drivers were subject to the same reimbursement

policy; received similar reimbursements; incurred similar automobile expenses; completed

deliveries of similar distances and at similar frequencies; and were paid less than the applicable

minimum wage rate before deducting unreimbursed vehicle costs.

       41.     Regardless of the precise amount of the per-delivery reimbursement at any given

point in time, Defendant’s reimbursement formula has resulted in an unreasonable

underestimation of Delivery Drivers’ automobile expenses throughout the recovery period,

causing systematic violations of the minimum wage laws.

       42.     Defendant charges customers a delivery fee separate from the food charge, but the

delivery charge is not paid to the driver per the Pizza Hut website (www.pizzahut.com).

       43.     Plaintiff generally completed approximately 3 to 4 deliveries per hour while

working as a Delivery Driver (averaging 3.5 deliveries per hour).

       44.     The typical delivery was anywhere from 2 to 7 miles away from the restaurant.

Plaintiff estimates that the average delivery was 4 miles away (8 miles roundtrip).

       45.     Because Defendant paid Plaintiff and other Delivery Drivers a gross hourly wage

at or around the applicable minimum wage, and because Plaintiff and other Delivery Drivers

incurred unreimbursed automobile expenses and other job expenses, the Delivery Drivers
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“kicked back” to Defendant an amount sufficient to cause minimum wage violations. See 29

C.F.R. § 531.35.

       46.     In 2021, for example, Defendant under-reimbursed Plaintiff and other Delivery

Drivers at a rate of 24.5 cents per mile (IRS standard rate of 57.5 cents minus the actual

reimbursement of 33 cents).

       47.     Thus, while making deliveries (assuming 3.5 deliveries per hour at 8 miles per

delivery), Plaintiff has consistently “kicked back” to Defendant approximately $6.86 per hour

($1.96 per delivery x 3.5 deliveries per hour).

       48.     Plaintiff occasionally worked hours over 40 in a week, and in these weeks he did

not receive a sufficient overtime premium because of the unreimbursed mileage expenses.

       49.     Other Delivery Drivers also occasionally worked over 40 hours in a week and

also incurred overtime violations due to the unreimbursed mileage expenses.

       50.     Defendant knew or should have known that it was not paying Plaintiff and other

Delivery Drivers sufficient minimum wages and overtime premiums.

       51.     Defendant has willfully failed to pay minimum wage and overtime premiums to

Plaintiff and similarly situated Delivery Drivers.

                   V.      REPRESENTATIVE ACTION ALLEGATIONS

       52.     Plaintiff repeats and realleges all previous paragraphs of this Complaint as though

fully incorporated in this section.

       53.     Plaintiff brings his claims for relief for violation of the FLSA as a collective

action pursuant to Section 16(b) of the FLSA, 29 U.S.C. § 216(b), on behalf of all persons who

were, are or will be employed by Defendant as similarly situated employees at any time within
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the applicable statute of limitations period, who are entitled to payment of the following types of

damages:

        A.      Minimum wages for all hours worked;

        B.      Overtime premiums for all hours worked in excess of forty each week;

        C.      Liquidated damages; and

        D.      Attorney’s fees and costs.

        54.     Plaintiff proposes the following collective under the FLSA:

                           All Delivery Drivers in the last three years.

        55.     In conformity with the requirements of FLSA Section 16(b), Plaintiff has filed or

will soon file a written Consent to Join this lawsuit.

        56.     The relevant time period dates back three years from the date on which Plaintiff’s

Original Complaint—Collective Action was filed herein and continues forward through the date

of judgment pursuant to 29 U.S.C. § 255(a), except as set forth herein below.

        57.     The members of the proposed FLSA collective are similarly situated in that they

share these traits:

        A.      They were classified by Defendant as nonexempt from the minimum wage and

overtime requirements of the FLSA;

        B.      They had substantially similar job duties and requirements;

        C.      They were required by Defendant to incur expenses to maintain vehicles for

delivery of Defendant’s products;

        D.      They were subject to Defendant’s common policy of not reimbursing Delivery

Drivers for automobile expenses related to making deliveries for Defendant’s restaurants;

        E.      They did not receive a lawful minimum wage or overtime premium.
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       58.     Plaintiff’s claims are essentially the same as those of the putative collective.

       59.     Defendant’s unlawful conduct is pursuant to a corporate policy or practice.

       60.     Plaintiff is unable to state the exact number of potential members of the FLSA

collective but believes that the collective exceeds 20 persons.

       61.     Defendant can readily identify the members of the collective, who are a certain

portion of the current and former employees of Defendant.

       62.     The names, addresses and cell phone numbers of the FLSA collective action

plaintiffs are available from Defendant, and a Court-approved Notice should be provided to the

FLSA collective action plaintiffs via text message, email, and first class mail to their last known

physical and electronic mailing addresses as soon as possible, together with other documents and

information descriptive of Plaintiff’s FLSA claim.

                              VI.    FIRST CAUSE OF ACTION
                          (Individual Claim for Violation of the FLSA)

       63.     Plaintiff repeats and realleges all previous paragraphs of this Complaint as though

fully incorporated in this section.

       64.     Plaintiff asserts this claim for damages and declaratory relief pursuant to the

FLSA, 29 U.S.C. § 201, et seq.

       65.     At all relevant times, Defendant was Plaintiff’s “employer” within the meaning of

the FLSA, 29 U.S.C. § 203.

       66.     At all relevant times, Defendant has been, and continues to be, an enterprise

engaged in commerce within the meaning of the FLSA, 29 U.S.C. § 203.

       67.     29 U.S.C. §§ 206 and 207 require any enterprise engaged in commerce to pay all

employees a minimum wage for all hours worked up to 40 each week and to pay 1.5x regular
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wages for all hours worked over 40 each week, unless an employee meets certain exemption

requirements of 29 U.S.C. § 213 and all accompanying Department of Labor regulations.

        68.    During the period relevant to this lawsuit, Defendant classified Plaintiff as

nonexempt from the overtime requirements of the FLSA.

        69.    Despite the entitlement of Plaintiff to lawful overtime wages under the FLSA,

Defendant failed to pay Plaintiff lawful overtime wages for all hours worked over forty each

week.

        70.    Defendant failed to pay Plaintiff a lawful minimum wage for all hours worked.

        71.    Defendant’s conduct and practices, as described above, were willful, intentional,

unreasonable, arbitrary, and in bad faith.

        72.    By reason of the unlawful acts alleged herein, Defendant is liable to Plaintiff for

monetary damages, liquidated damages, and costs, including reasonable attorneys’ fees, for all

violations that occurred within the three years prior to the filing of the Original Complaint—

Collective Action.

                            VII. SECOND CAUSE OF ACTION
                       (Collective Action Claim for Violation of the FLSA)

        73.    Plaintiff repeats and realleges all previous paragraphs of this Complaint as though

fully incorporated in this section.

        74.    Plaintiff, individually and on behalf of all others similarly situated, asserts this

claim for damages and declaratory relief pursuant to the FLSA, 29 U.S.C. § 201, et seq.

        75.    At all relevant times, Defendant has been, and continues to be, an “employer” of

Plaintiff and all those similarly situated within the meaning of the FLSA, 29 U.S.C. § 203.

        76.    29 U.S.C. §§ 206 and 207 require any enterprise engaged in commerce to pay all

employees a minimum wage for all hours worked up to 40 each week and to pay 1.5x regular
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wages for all hours worked over 40 each week, unless an employee meets certain exemption

requirements of 29 U.S.C. § 213 and all accompanying Department of Labor regulations.

       77.     During the period relevant to this lawsuit, Defendant classified Plaintiff and all

others similarly situated as nonexempt from the overtime requirements of the FLSA.

       78.     Despite the entitlement of Plaintiff and all others similarly situated to lawful

overtime wages under the FLSA, Defendant failed to pay Plaintiff and all others similarly

situated lawful overtime wages for all hours worked over forty each week.

       79.     Defendant failed to pay Plaintiff and all others similarly situated a lawful

minimum wage for all hours worked.

       80.     Defendant’s conduct and practices, as described above, were willful, intentional,

unreasonable, arbitrary, and in bad faith.

       81.     By reason of the unlawful acts alleged herein, Defendant is liable to Plaintiff and

all others similarly situated for monetary damages, liquidated damages, and costs, including

reasonable attorneys’ fees, for all violations that occurred within the three years prior to the filing

of the Original Complaint—Collective Action.

                                 VIII. PRAYER FOR RELIEF

       WHEREFORE, premises considered, Plaintiff Tyler Robert, individually and on behalf

of all others similarly situated, respectfully prays that Defendant be summoned to appear and to

answer herein and for declaratory relief and damages as follows:

       A.      That Defendant be required to account to Plaintiff, the collective members, and

the Court for all of the hours worked by Plaintiff and the collective members and all monies paid

to them;
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       B.      Certification of a collective under Section 216 of the FLSA of all individuals

similarly situated, as further defined in any motion for the same;

       C.      A declaratory judgment that Defendant’s practices alleged herein violate the

FLSA, 29 U.S.C. § 201, et seq., and attendant regulations at 29 C.F.R. § 516, et seq.;

       D.      Judgment for damages owed to Plaintiff and others similarly situated under the

FLSA, 29 U.S.C. § 201, et seq., and attendant regulations at 29 C.F.R. § 516, et seq.;

       E.      Judgment for liquidated damages owed to Plaintiff and others similarly situated

pursuant to the FLSA, 29 US.C. § 216;

       F.      For a reasonable attorneys’ fee, costs, and pre-judgment interest; and

       G.      Such other and further relief as this Court may deem just and proper.

                                                     Respectfully submitted,
                                                     SANFORD LAW FIRM, PLLC
                                                     /s/ Lydia H. Hamlet
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